       Case 1:16-cv-02459-WMR Document 367 Filed 09/09/19 Page 1 of 8




                     IN THE U.S. DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
SECURITIES AND EXCHANGE                :
COMMISSION,                            :
                                       :
            Plaintiff,                 :
                                       :
      v.                               :        Case No. 1:16-cv-02459-WMR
                                       :
THOMAS W. AVENT, Jr.,                  :
RAYMOND J. PIRRELLO, Jr., and          :
LAWRENCE J. PENNA,                     :
                                       :
            Defendants.                :
                   FINAL JUDGMENT AS TO DEFENDANT
                        RAYMOND J. PIRRELLO, JR.

      The trial in this case having resulted in a jury verdict, and findings of

liability in favor of the Plaintiff, Securities and Exchange Commission, and

against Defendant Raymond J. Pirrello, Jr., on all counts, and the Court having

considered the evidence in this matter and the parties’ submissions and

arguments regarding appropriate remedies:

                                           I.

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly,

Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15
                                           1
       Case 1:16-cv-02459-WMR Document 367 Filed 09/09/19 Page 2 of 8




U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5]

promulgated thereunder, by using any means or instrumentality of interstate

commerce, or of the mails, or of any facility of any national securities exchange,

in connection with the purchase or sale of any security:

      (a)    to employ any device, scheme or artifice to defraud,

      (b)    to make any untrue statement of material fact or to omit to state a

             material fact necessary in order to make the statements made, in the

             light of the circumstances under which they were made, not

             misleading; or

      (c)    to engage in any act, practice, or course of business which operates

             or would operate as a fraud or deceit upon any person, by

(1) purchasing or selling a security on the basis of material nonpublic

information, or (2) providing material, confidential information to another

person with the expectation that the information would be used in trading

securities and with the expectation of receiving a personal benefit, (3) in breach

of a duty of trust and confidence owed directly, indirectly, or derivatively to the

corporation that issued the security, to the corporation’s shareholders, or to the

information’s source.

                                         2
       Case 1:16-cv-02459-WMR Document 367 Filed 09/09/19 Page 3 of 8




                                         II.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 14(e) of the

Exchange Act [15 U.S.C. § 78n(e)] and Rule 14e-3 [17 C.F.R. § 240.14e-3]

promulgated thereunder, in connection with any tender offer or request or

invitation for tenders, from engaging in any fraudulent, deceptive, or

manipulative act or practice, by:

            (a) purchasing or selling or causing to be purchased or sold the

                securities sought or to be sought in such tender offer, securities

                convertible into or exchangeable for any such securities or any

                option or right to obtain or dispose of any of the foregoing

                securities while in possession of material information relating to

                such tender offer that Defendant knows or has reason to know is

                nonpublic and knows or has reason to know has been acquired

                directly or indirectly from the offering person; the issuer of the

                securities sought or to be sought by such tender offer; or any

                officer, director, partner, employee or other person acting on

                behalf of the offering person or such issuer, unless within a

                                         3
Case 1:16-cv-02459-WMR Document 367 Filed 09/09/19 Page 4 of 8




        reasonable time prior to any such purchase or sale such

        information and its source are publicly disclosed by press release

        or otherwise; or

     (b) communicating material, nonpublic information relating to a

        tender offer, which Defendant knows or has reason to know is

        nonpublic and knows or has reason to know has been acquired

        directly or indirectly from the offering person; the issuer of the

        securities sought or to be sought by such tender offer; or any

        officer, director, partner, employee, advisor, or other person

        acting on behalf of the offering person of such issuer, to any

        person under circumstances in which it is reasonably foreseeable

        that such communication is likely to result in the purchase or sale

        of securities in the manner described in subparagraph (a) above,

        except that this paragraph shall not apply to a communication

        made in good faith

          i.   to the officers, directors, partners or employees of the

               offering person, to its advisors or to other persons,

               involved in the planning, financing, preparation or

               execution of such tender offer;

                                  4
       Case 1:16-cv-02459-WMR Document 367 Filed 09/09/19 Page 5 of 8




                 ii.   to the issuer whose securities are sought or to be sought by

                       such tender offer, to its officers, directors, partners,

                       employees or advisors or to other persons involved in the

                       planning, financing, preparation or execution of the

                       activities of the issuer with respect to such tender offer; or

                iii.   to any person pursuant to a requirement of any statute or

                       rule or regulation promulgated thereunder.


                                          III.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is liable for disgorgement of $21,500 and a civil penalty in the amount of

$107,000 pursuant to Section 21A of the Exchange Act [15 U.S.C. § 78u-1].

Defendant shall satisfy this obligation by paying $128,500.00 to the Securities

and Exchange Commission pursuant to the terms of the payment schedule set

forth in paragraph IV below after entry of this Final Judgment.

       Defendant may transmit payment electronically to the Commission,

which will provide detailed ACH transfer/Fedwire instructions upon request.

Payment may also be made directly from a bank account via Pay.gov through the

SEC website at http://www.sec.gov/about/offices/ofm.htm. Defendant may

also pay by certified check, bank cashier’s check, or United States postal money
                                           5
       Case 1:16-cv-02459-WMR Document 367 Filed 09/09/19 Page 6 of 8




order payable to the Securities and Exchange Commission, which shall be

delivered or mailed to:

      Enterprise Services Center
      Accounts Receivable Branch
      6500 South MacArthur Boulevard
      Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action

number, and name of this Court; Raymond J. Pirrello, Jr., as a defendant in this

action; and specifying that payment is made pursuant to this Final Judgment.

      Defendant shall simultaneously transmit photocopies of evidence of

payment and case identifying information to the Commission’s counsel in this

action. By making this payment, Defendant relinquishes all legal and equitable

right, title, and interest in such funds and no part of the funds shall be returned

to Defendant. The Commission shall send the funds paid pursuant to this Final

Judgment to the United States Treasury.

      The Commission may enforce the Court’s judgment for disgorgement and

civil penalty by moving for civil contempt (and/or through other collection

procedures authorized by law) at any time after 14 days following entry of this

Final Judgment. Defendant shall pay post judgment interest on any delinquent

amounts pursuant to 28 U.S.C. § 1961.


                                          6
       Case 1:16-cv-02459-WMR Document 367 Filed 09/09/19 Page 7 of 8




                                         IV.

      Defendant shall pay the total disgorgement and penalty due of $128,500.00

within 14 days of the entry of this judgment. Payment shall be deemed made on

the date it is received by the Commission and shall be applied first to post

judgment interest, which accrues pursuant to 28 U.S.C. § 1961 on any unpaid

amounts due after 14 days of the entry of Final Judgment.

                                         V.

      Any debt for disgorgement and civil penalty due by Defendant under this

Final Judgment or any other judgment, order, consent order, decree or

settlement agreement entered in connection with this proceeding, is a debt for

the violation by Defendant of the federal securities laws or any regulation or

order issued under such laws, as set forth in Section 523(a)(19) of the

Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                         VI.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court

shall retain jurisdiction of this matter for the purposes of enforcing the terms of

this Final Judgment.




                                          7
       Case 1:16-cv-02459-WMR Document 367 Filed 09/09/19 Page 8 of 8




                                        VII.

      There being no just reason for delay, pursuant to Rule 54(b) of the Federal

Rules of Civil Procedure, the Clerk is ordered to enter this Final Judgment

forthwith and without further notice.

     This 9th day of September, 2019.




                                        WILLIAM M. RAY, II
                                        UNITED STATES DISTRICT JUDGE




                                         8
